                 Case 1:19-mj-00307-IDD Document 1 Filed 07/03/19 Page 1 of 1 PageID# 1



AO 442 (Rev 01/09) Arresl Warrant                                                                               *itr>
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                                         United States District Court
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                                                           District of Columbia                           ■ ■




                      United States of America
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                      MICHAEL D. CLAYTON
                                                                             Case No. 18cr158(RDM)      4
                             Defendant


                                                       ARREST WARRANT                   v

To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
Cname ofperson to be arresiedj        MICHAEL D. CLAYTON                                                                                           »
who is accused of an offense or violation based on the following document filed with the court:

D Indictment               D Superseding Indictment         O Information       G Superseding Information               □ Complaint
CP Probation Violation Petition             fif Supervised Release Violation Petition    □ Violation Notice □ Order of the Court
This offense is briefly described as follows:
  (See attached.)




Date:     05/29/2019
                                                                                            Issuing offtfer's signature

City and state:          Washington, D.C.                                         K. Thompson, Courtroom Deputy Clerk
                                                                                              Printed name and title



                                                                  Return

          This warrant was recei^dpnfdate) ^                                 the person was arre         ^^ate)
at (city and state)
                                            7
Date   : 0
                                                                                         Arresmg officer's signature



                                                                                              Printed name and title
